         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                 _____________________________

                     Case Nos. 5D2024-0961
                               5D2024-0962
                 LT Case No. 2021-100132-CFDL
                             2020-100958-CFDL
                 _____________________________

JAYSON MASON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
                 _____________________________


On appeal from the Circuit Court for Volusia County.
Randell H. Rowe, III, Judge.

Matthew J. Metz, Public Defender, and Louis A. Rossi, Assistant
Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Mitchell
Sanders, Assistant Attorney General, Daytona Beach, for
Appellee.

                        August 27, 2024


PER CURIAM.

    AFFIRMED.

LAMBERT, SOUD, and KILBANE, JJ., concur.
          _____________________________

Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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